Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 1 of 56
                                 1                                         F
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 2 of 56
                                 2
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 3 of 56
                                 3
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 4 of 56
                                 4
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 5 of 56
                                 5
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 6 of 56
                                 6
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 7 of 56
                                 7
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 8 of 56
                                 8
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 9 of 56
                                 9
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 10 of 56
                                 10
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 11 of 56
                                 11
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 12 of 56
                                 12
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 13 of 56
                                 13
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 14 of 56
                                 14
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 15 of 56
                                 15
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 16 of 56
                                 16
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 17 of 56
                                 17
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 18 of 56
                                 18
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 19 of 56
                                 19
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 20 of 56
                                 20
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 21 of 56
                                 21
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 22 of 56
                                 22
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 23 of 56
                                 23
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 24 of 56
                                 24
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 25 of 56
                                 25
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 26 of 56
                                 26
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 27 of 56
                                 27
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 28 of 56
                                 28
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 29 of 56
                                 29
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 30 of 56
                                 30
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 31 of 56
                                 31
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 32 of 56
                                 32
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 33 of 56
                                 33
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 34 of 56
                                 34
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 35 of 56
                                 35
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 36 of 56
                                 36
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 37 of 56
                                 37
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 38 of 56
                                 38
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 39 of 56
                                 39
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 40 of 56
                                 40
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 41 of 56
                                 41
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 42 of 56
                                 42
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 43 of 56
                                 43
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 44 of 56
                                 44
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 45 of 56
                                 45
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 46 of 56
                                 46
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 47 of 56
                                 47
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 48 of 56
                                 48
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 49 of 56
                                 49
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 50 of 56
                                 50
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 51 of 56
                                 51
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 52 of 56
                                 52
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 53 of 56
                                 53
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 54 of 56
                                 54
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 55 of 56
                                 55
Case 1:21-cv-00148-MR-WCM   Document 1-6   Filed 06/07/21   Page 56 of 56
                                 56
